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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

__________________________________________
UNITED STATES OF AMERICA,                 )
                                           )
                  Plaintiff,               )
                                           )               Civil Action No. 2:18-cv-62-RSB-BWC
            v.                             )
                                           )
HERCULES LLC,                             )
                                           )
                  Defendant.               )
__________________________________________)


                                       STATUS REPORT

       This status report is filed in response to the Court’s Order dated May 30, 2019. Doc. 20.

       On May 16, 2018, the United States filed a Complaint and a lodged a proposed Consent

Decree concerning the Terry Creek Dredge Spoil Areas/Hercules Outfall Site (Site) in

Brunswick, Georgia. In the proposed Consent Decree, defendant Hercules LLC agreed to

implement the interim remedy selected by the U.S. Environmental Protection Agency (EPA) for

the outfall, to reimburse the EPA $153,009.48 in past response costs at the Site, and to pay future

response costs incurred by the United States in connection with this proposed Consent Decree.

Doc. 3-1.

       The United States held a 120-day public comment period on the proposed Consent

Decree from May 23, 2018 to September 20, 2018. The United States is finishing up its review

of the 101 public comments received during the public comment period, which is an unusually

high volume of comments, and is preparing its resulting court filing. The United States is

diligently working on this and anticipates it will be in a position by July 31, 2019 to file a motion

with the Court regarding the United States’ position on the lodged Consent Decree.

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Respectfully submitted this 27th day of June 2019.


                                            /s Valerie K. Mann
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                                            OF AMERICA




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